            Case 4:19-cv-02755 Document 1-1 Filed on 07/25/19 in TXSD Page 1 of 1

                                  IPP International U.G. Declaration Exhibit A
                                    File Hashes for IP Address 99.190.58.55

ISP: AT&T U-verse
Physical Location: Houston, TX



Hit Date UTC           File Hash                                          Title
07/02/2019 00:53:02    3B4FD8CF7C2D8CC5D552808F6B8307FF768A4E49           Threeway Team Sport

12/25/2017 17:15:28    4346FE370C9280CA811CB1B34C136E6B177ADD26           Red Hot Christmas

08/01/2017 19:08:55    1013AD59CD964D5872750551C25A1DAFE10CF33C           Sex For Three By The Sea

07/01/2017 12:43:24    7B75F1D13DEA537ABF60DA52AABD5912921142AD XXX Threeway Games


Total Statutory Claims Against Defendant: 4




                                                  EXHIBIT A
STX304
